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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

      IN RE: JOHNSON & JOHNSON                         MDL No. 2738 (FLW) (LHG)
      TALCUM POWDER PRODUCTS                           JUDGE MICHAEL A. SHIPP
      MARKETING, SALES PRACTICES,                      MAG. JUDGE RUKHSANAH L. SINGH
      AND PRODUCTS LIABILITY
      LITIGATION
                                                       CIVIL ACTION No. 3:23-cv-10740
      THIS DOCUMENT RELATES TO:


      DAVID SCHWARTZ,


                                        NOTICE OF FILING

           Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

    Complaints) that the Short Form Complaint and Jury Demand has been filed on aUGUST

    25, 2023 on behalf of Plaintiff, David Schwartz.



   Dated: August 25, 2023                        Respectfully Submitted by:

                                                 By: /s/ Daniel J. Thornburgh
                                                 Daniel J. Thornburgh
                                                 Aylstock, Witkin, Kreis, & Overholtz
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                                                 Attorney for Plaintiffs
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                                          CERTIFICATE OF SERVICE

                 I hereby certify that August          25,   2023, a copy of the foregoing was filed

    electronically. Service of the filing will be made on all ECF-registered counsel by operation of the Court’s

    electronic system. Parties may access this filing through the court’s system.



   Dated: August 25, 2023                         Respectfully Submitted by:


                                                  By: /s/ Daniel J. Thornburgh
                                                  Daniel J. Thornburgh
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